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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

                                                                              2G1S Ab>b P h 3L|
       JOHN DOE>,

                     Plaintiff,
             V.                                                     Civil Action No.


TRUSTEES OF DARTMOUTH COLLEGE,


                    Defendant,




                            COMPLAINT AND JURY DEMAND




                                       INTRODUCTION


   1. This lawsuit arises out ofthe unjust and unlawful expulsion ofplaintiff John Doe from

       Dartmouth College ("Dartmouth"), and the disciplinary hearing procedures plaintiff was

       subjected to prior to his expulsion that transpired between September 2017 and February

       2018.


   2. Plaintiff seeksjustice against Dartmouth as it is responsible for the actions of a small

       group ofadministrators and employees who failed and refused to adhere to the College's

       own policies and laws meant to protect Plaintiff.




'Plaintiff seeks to file this complaint and all pleadings under pseudonym due to the serious and
false nature ofthe allegations against him and the privacy implications to both himself and Sally
Smith and has concurrently filed with this complaint a motion requesting such a designation. For
reasons articulated in this motion, plaintiff has signed all documents submitted to this court
which are, or could potentially be unsealed, using the alias "John Doe"in place of his own name,
and respectfully asks that the court allow Doe to do this, and treat any certifying signatures or
other implementations ofthis alias as that ofthe pro se plaintiffin this case(whose name,
address, email, and phone number are contained in the ^ancial affidavit filed concurrently with
this complaint).
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3. Plaintiff has been subjected to extraordinary suffering and loss as a result of Dartmouth's

    actions, including but not limited to the loss of bis Dartmouth degree, loss ofother

    educational opportunities, loss ofjob opportunities, reputational barm,financial barm,

    and excruciating emotional distress.




                             JURISDICTION AND VENUE


4. This action arises out of Dartmouth's breach ofits contractual and other obligations to the

    plaintiff, as well as its violations ofTitle DC ofthe Education Amendments of 1972(20

    U.S.C. § 1681).

5. The plaintiffis an out-of-state resident of modest means,and the defendant is a resident

    ofNew Hampshire. The amoimt in controversy is over $75,000.

6. This Court hasjurisdiction pursuant to 28 U.S.C. §§ 1331 and 1332.

7. Venue is proper in this district imder 28 U.S.C. § 1391(b).



                                        PARTIES


8. Plaintiff John Doe "Doe," or"John")is a U.S. citizen who resides outside the state of

     New Hampshire.

9. Defendant Trustees ofDartmouth College("Dartmouth")is a partially federally funded

     private liberal arts college in Hanover, New Hampshire.




                                           FACTS
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10. Between 2012 and January 2017, John Doe was in a relationship with Sally Smith, who is

    an imdergraduate student attending university in a state outside of New Hampshire and

    does not attend Dartmouth College.

11. Sometime about early March 2017,Sally Smith's mother told Doe and his mother that

    Sally Smith and herselfintended to entice Dartmouth into imposing a disciplinary

    sanction upon Doe to get revenge upon him for grievances they held against him,in

    hopes that Doe would become ineligible to keep the full ride scholarship he'd been

    awarded during his senior year in high school for his academic,leadership, and

    community-oriented accomplishments, and which was ofincredible personal and

    financial importance to the plaintiff.

12. In March 2017, Sally submitted an 18-page report ("the March report") composed of un-

    contextualized messages John had sent months prior to her college's police department,

    and requested a restraining order be issued against Doe. Dartmouth received the March

    report from Sally's university's police department.

13. John Doe had not ever been accused of committing malicious behavior, or causing

    another individual harm in his time at Dartmouth, or at any other point in his life prior to

    these events.


14. Dartmouth's Student Handbook states;"The JAO shall determine whether complaints or

    other information concerning a student shall result in formal disciplinary allegations,"&

    "Hearings will he scheduled as soon as possible after an incident."

15. In accordance with Dartmouth's policies, its Judicial Affairs Office("JAO")investigated

    the contents of the report, and Doe was forced to attend a mandatory meeting with

    Dartmouth Undergraduate Dean Kristi Clemens to discuss its contents, but based on said
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    investigation,the JAO determined it was not appropriate to initiate disciplinary allegations

    against Doe based on the contents ofthe March report.

16. During March and/or April of2017, Sally and her mother repeatedly contacted

    Dartmouth College saying they felt threatened by Doe and asking them to intervene,

    resulting in Dartmouth's Safety & Security and Hanover Police Department visiting

    Doe's dorm room on several different occasions. At this point. Doe had not

    communicated with any member ofthe Smith family in the previous month since they'd

    threatened to get revenge against Doe by enticing Dartmouth to take disciplinary action

    against him, other than in late March when he communicated with Sally and her mother,

    asking them to stop making unsolicited contact with Doe's parents.

17. In May 2017,Doe sent the following message to Smith and her mother:"Ijust wanted to

    write and formally remind you one more time that you're not allowed to talk to any of my

    family members."

18. Shortly after Doe sent this message, Sally's mother submitted it to the police and claimed

    John had violated a restraining order that'd been issued against him in March,and Doe

    was arrested later that day by Hanover Police Department.

19. In early May 2017, Adam Knowlton-Yovmg issued a letter to notify Doe that Dartmouth

    had raised two allegations against him regarding the actions he'd performed in May

    which precipitated his arrest-that these actions were in violation of Dartmouth's

    Standard of Conduct II, and that they were in violation of Standard of Conduct VI.

20. Months later John Doe had a court hearing regarding his arrest and was not found guilty

    of violating Sally's restraining order against him.
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21. Doe went on to deny both allegations Dartmouth raised against him before his judicial

    hearing on September 21®*, 2017 at the suggestion of his College appointed advisor.



                                    The Sanctioning Process


22. At Doe's hearing on September 21®*, the Committee on Standards did not determine
    either ofthe allegations that'd been raised against him,and which Dartmouth had

    provided Doe notice ofin advance of his hearing were true.

23. Despite having already decided not to raise disciplinaiy allegations or impose a sanction
    upon Doe based on its investigation ofthe March report 177 days prior to Doe's

    disciplinary hearing on September 21st, and in an extraordinary violation ofits own

    written policies, Dartmouth imposed a sanction ofexpulsion upon Doe based on the

    contents ofthe March report at his hearing on September 21®*, and without ever raising

    allegations against Doe pertaining to the contents ofthe report.

24. At Doe's hearing on September 21®*, he was found guilty ofan allegation that is

    materially different in substance than either ofthe two allegations Dartmouth raised

    against Doe in advance of his hearing, an extraordinary violation ofDartmouth's own

    policies and procedures which severely xmdermined the fairness ofDoe's hearing.

25. Dartmouth's Student Handbook reads:"The Judicial Affairs Office(JAG)shall be

    responsible for receiving all complaints and issuing allegations," and "The Director of

     Judicial Affairs shall determine whether information available in support ofan allegation

     could result in suspension ofseparation ifthe student were found responsible."

26. The Handbook specifically stipulates that the JAG(and no other entity, including the

     COS)is responsible for investigating all information supporting allegations of
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    misconduct brought to Dartmouth's attention and determining whether or not it is

    appropriate, necessary, and/or otherwise suitable to initiate formal disciplinary
    allegations against the student, implement other disciplinary measures, or refrain from
    action.


27. The JAO investigated all ofthe materials in the complaint Dartmouth indirectly received
    from Sally in March 2017 and determined the information in this report did notjustify
    initiating disciplinary allegations, or potentially imposing suspension or separation, or
    having Doe attend a disciplinary hearing before the COS.

28. Dartmouth's Student Handbook states;"Students are entitled to reasonable written notice

    ofthe substance ofthe allegation(s) against them,""At the beginning ofthe student's
    hearing, the Chair shall determine that students have received a copy ofthe allegation(s)
    against them and notification or their rights in the COS proceeding,""The student will
    have an opportunity to admit or deny the allegation within five days ofthe written notice
    ofthe allegations," &"In order for the COS to conclude that a student has violated a
     College rule,the COS must be persuaded that a preponderance ofthe evidence supports
    such a finding To find a violation under this standard,the COS must conclude that it is
     more likely than not that the student committed the alleged violation." Dartmouth
     violated each ofthese policies(amongst others) during Doe's disciplinary hearing on
     September 2D* 2017.

29. Dartmouth did not simply fail to provide John any such reasonable written notice that the
     COS would consider imposing a sanction upon him based on the information in the

     March report-it had investigated the report months prior to Doe's hearing, determined
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    that by its own policies and standards it was not appropriate to raise disciplinary

    allegations about it, and informed Doe ofthis decision.

30. In conversation with the plaintiff about November 2017,Dartmouth's Director of Judicial
    Affairs, Dean Katharine Strong, conceded that the JAO bad reviewed and investigated all
    the information in the March report at the time Dartmouth received it, and based off said
    investigation, decided it wasn't appropriate to raise disciplinary allegations against Doe at
    that time.


31. By arbitrarily and capriciously imposing a sanction ofexpulsion upon Doe for these
    actions 177 days after this initial investigation, and as the result of disciplinary rulings
    and procedures that are inconsistent with or violate Dartmouth's policies, Dartmouth
    breached its contractual obligation to the plaintiff.

32. Based on Dartmouth's investigation ofthe March report and subsequent decision that it
    was not appropriate to potentially impose a disciplinary sanction upon Doe based on the
    information within the report, John Doe reasonably expected that Dartmouth would not
    arbitrarily and capriciously expel him based on a subsequent review ofthis report at some
    indeterminate point-in-time later on,leading Doe not to apply to other undergraduate
    institutions during the 2017 application season, and to continue paying tuition costs and
    investing countless hours of his time towards earning his degree at Dartmouth-
     investments rendered worthless as a result of Doe's wrongful expulsion, and which he

     would not have made if Dartmouth had not made decisions and rulings that would make

     any reasonable person in Doe's situation believe they wouldn't be arbitrarily denied the
     fruits ofthese sacrifices and labor based on the contents ofthe March report at some

     point after Dartmouth initially investigated it.
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33. The finHing report explaining the basis for the COS's decision was wntten by Daniel
    Nelson, who served as COS chair at Doe's hearing.

34. In the finding report. Nelson cited more than 11 different messages from the March
    report which Dartmouth's decision was based upon.

35. In finding report written by Daniel Nelson, Chair ofthe Committee on Standards
    ("COS"),Nelson stated it was appropriate to impose the harshest sanction possible
    against Doe,because he and the other committee members felt Doe had exhibited an
    "inability to take responsibility for his actions and his lack ofawareness ofthe
    significance ofhis actions and their impact on others," in relation to the statements he d
    made which were contained in the March report.

36. Dartmouth's decision to sanction Doe based on how much remorse it perceived Doe felt

    for committing actions which he had not received allegations about in advance of his
    hearing, and in violation ofthe rules and regulation ofDartmouth's disciplinary hearing
    system was arbitrary, capricious, unjust, and unlawful.

37. In said finding report. Nelson also cited information and evidence which had not been
     shared with Doe,and which Doe was not notified would be considered by the COS at his
     hearing on September 2V\ such as that Sally's mother had contacted Dartmouth on
     several occasions and suggested it take action against Doe,a breach ofDartmouth's
     policies which undermined the fairness ofDoe's disciplinary proceedings.
38. The terms or concepts "expulsion" and "separation" were never uttered, mentioned, or
     suggested to Doe by any Dartmouth employee or affiliate, in any official or unofficial
     capacity, before the very instant when he was notified that this was the sanction that had
     been imposed on him on September          the day after Doe's first hearing, a violation of
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    Dartmouth's obligation to inform students if expulsion is a potential outcome in advance

    oftheir disciplinary hearings.

39. Upon information and belief, Dartmouth has never imposed a disciplinary sanction, let
    alone expulsion upon a student for actions, behaviors, and/or information that

    Dartmouth's JAO had previously reviewed and determined were not appropriate and/or

    necessary grounds to raise formal disciplinary allegations against the student.

40. When Dartmouth Undergraduate Dean Knsti Clemens called Doe's parents to tell them

    John had been expelled from Dartmouth, Doe's parents asked why Dartmouth was now
    punishing him so harshly based on information Dartmouth received the previous

    academic year and determined it wasn't appropriate to pumsh Doe for at that time. In

    response Clemens told Doe's parents the COS felt he wasn't remorseful enough for
    sending the messages in the March report, and that this justified imposing such a harsh

    sanction upon Doe.

41. Dartmouth's decision to impose a sanction ofexpulsion upon Doe for the statements

    contained in the March report was arbitrary, capricious and made in violation with the

    institution's own policies, as shown by the fact Dartmouth decided not to impose a

    sanction or raise disciplinary allegations against Doe after investigating this report 177

    days prior to John Doe's expulsion at the time Dartmouth received the complaint.

42. On the day of John Doe's hearing on September 21®*, 2017, Director ofthe JAO

    Katharine Strong exhibited a remarkable lack offamiliarity with Dartmouth's own rules

     and policies when she told Doe the COS could impose sanctions upon him for actions

     Dartmouth had not raised allegations against him about in advance of his hearing, citing

    that students had previously been sanctioned for underage drinking in this manner
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   (although Strong would later deny saying this and come to support other, differing

    narratives to justify the action taken against Doe at the hearing she herself was

    responsible for overseeing and ensuring was performed in accordance with Dartmouth's
    policies).

43. Though Kevin O'Leary ofDartmouth General Counsel would eventually concede Doe

         in fact, been foimd guilty ofan allegation which hadn't been raised against him in

    advance of his hearing on September 21®*, and that this was indeed a violation of

    Dartmouth's policies, Katharine Strong, Director ofthe Judicial Affairs Office(JAG),

    and the Dartmouth administrator who bears the greatest level of authority in, and

    participates in most,if not all ofthe College's disciplinary hearing processes, would

    insist her department somehow actually had raised the allegations Doe was found guilty

    ofprior to his hearing-an unambiguously false narrative which Dartmouth's other

    employees vehemently supported.

44. Upon information and belief, Dartmouth has never subjected another student to a

    disciplinary hearing process marked by the other characteristics ofthe disciplinary

    hearing Doe was subjected to and has raised issue with herein.

45. Doe would not have been sanctioned or expelled from Dartmouth as a result of his

    disciplinary hearing on September 21®* ifthis hearing had been conducted in accordance

    with Dartmouth's own rules, policies, and John Doe's promised rights as a member ofthe

    institution.


46. Katharine Strong's and Daniel Nelson's(the Dartmouth employees tasked with ensuring

    Doe's disciplinary hearing was performed in accordance with Dartmouth's policies)

    negligent behaviors and/or failures to perform their assigned duties in Doe's disciplinary


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    hearing on September 21®Ms the fact-in-cause ofthe plaintiffs suffering and loss

    described herein.


                                        The Appeal



47. The letter notifying John that he was separated from the school stated that he had the

    right to appeal the decision on either or both ofthe following grounds:"(1)Procedural
    error which has materially prejudiced the student's case;(2)Newly discovered

    information which, had it been available at the time ofthe hearing, would likely have

    affected the outcome either with regard to a finding ofresponsibility or with regard to the

    sanction imposed".

48. In early October, John Doe submitted an appeal ofthe Committee on Standards' sanction.
49. As grounds for appeal ofthe sanction John Doe raised that Dartmouth had already
    investigated the March report and decided not to raise allegations against him based on

    this investigation, that Dartmouth had not given him notice that a sanction might be

    imposed on him based on the March report in advance ofhis hearing on September 21®^
    the disproportionate and vmprecedented nature ofthe sentence compared to Dartmouth's
     past sentences for similar violations, and the other procedural errors that occurred in his
     case described herein.


50. The appeal was heard by Rebecca Biron, Dean ofthe College at Dartmouth.

51. Dean Biron had previously expressed biased views against men and was not a neutral
     decision maker in John Doe's case.


52. In 2014, Dean Biron published an article titled "BEHIND CLOSED DOORS:RAPE,

     MURDER,AND THE MISPLACED CONFIDENCE OF MEN."



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53. The article expressed an assumption that men are violent, stating:"[w]hat makes it so

    hard for some men to question their own assumptions and so easy for them to act boldly

    and brutally when faced with closed doors?"

54. In that article, Dean Biron equated a Dartmouth undergraduate student who was acquitted

    by ajury of allegations ofnon-consensual sex with a classmate to Oscar Pistorius, the

    South Afiican athlete who admitted to shooting and killing his girlfriend.

55. Dean Biron concluded her article by stating:"We must demand of men,whether in

    college or not, a bit more self-doubt and a bit less self-confidence when they are faced

    with closed doors, whether they be physical, verbal, or figurative. The legal system

    values epistemological humility in order to protect the innocent; individuals should too."

56. These biases were highly inappropriate for an adjudicator of a case involving allegations

    ofmisconduct raised against a male individual by a female, and upon information and

    belief influenced her decision to uphold the Committee on Standards' decision, and

    refusal to acknowledge the inappropriate and unjust actions undertaken by the Dartmouth

    employees who managed Doe's disciplinary hearing procedures or provide appropriate

    remedy or relieffor these employees' wrongdoing.

57. On October 27^,2017,Dean Biron upheld the Committee on Standards' decision and

    dismissed Doe's assertion that a procedural error had occurred in his disciplinary hearing

    case, falsely asserting that Dartmouth had raised the allegation Doe had been found guilty

    ofin advance of his hearing, provided him notice ofthe allegation, and that no procedural

    error had occurred in his case.




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58. There is no evidence to support Dean Biron's false assertion that the JAO raised the

    allegation that John Doe was found guilty ofagainst him in advance of his hearing on

    September 21®^

59. On or about October 27th,2017 Katharine Strong compelled John Doe to meet with her

    so that she could personally deliver Dean Biron's response to Doe's appeal to him in
    person. Anne Hudak,Doe's Dartmouth-appointed advisor was also present at this
    meeting.

60. Though Hudak and Strong had both affirmed that the College had not raised any
    allegations against Doe regarding the March report at all points prior to this meeting, at
    the meeting on or about October 27th,2017, both would insist(on the contrary, but as
    Dean Biron had at the time in her response to Doe's appeal)that Dartmouth actually had

    raised allegations regarding the report, and consequently, that Doe's hearing on
     September 21st,2017 had been performed in accordance with Dartmouth's policies, and
    that he had been appropriately and fairly dealt a sanction of expulsion.

61. Although Dartmouth's general counsel would later concede that this narrative was
     fictitious, that Doe had,in fact, been found guilty ofan allegation which hadn't been

     raised against him in advance ofhis hearing on September 2H',and that this was indeed a
     violation ofDartmouth's policies, Dartmouth would refuse to acknowledge or provide
     remedy for the decisions and rulings that were based upon or derived fi"om these material
     misrepresentations over the months Dartmouth's treated them as factual truths.
62. While upholding Doe's expulsion on these false groimds. Dean Biron told Doe he could
     attend a new COS hearing where he would face a new set ofallegations which

     encompassed both ofthe allegations Dartmouth raised against Doe in advance of his


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     September 21®* hearing, as well as the different allegation Dartmouth had found Doe

     guilty of but not raised against him or given him notice ofin advance ofthis hearing, but
     noted,"As it appears that there is sufficient evidence to support the sanction that was

     imposed, you will remain not enrolled and are not allowed on campus."

 63. Dean Biron's ruling that a procedural error did not occur in Doe's case is not supported

     by evidence, logic, or facts, and is arbitrary and capricio\is.

 64. By failing to identify and provide appropriate remedy for the procedural errors that'd

     occiured in Doe's hearing on September 21®*, Dean Biron negligently failed to perform

     her designated role and responsibilities in Doe'sjudicial hearing process, violating

     Dartmouth's contractual and good faith obligations to the plaintiff, directly and indirectly

     subjecting plaintiffto the suffering and loss described herein.



October 28***-January 7*** 2017; From the Day After Biron Responded to Doe's "Request

         for Review".Thromyh the Day Before His Second Disciplinarv Hearing


 65. In the days after he'd been given Dean Biron's response to his request for review. Doe

     sent Dean Biron a letter explaining that the JAG clearly had not raised the allegation he'd

      been foimd guilty ofin advance ofhis COS hearing(Biron had asserted otherwise) and

     requesting that she reexamine the facts and circumstances of his case more closely and

      reconsider her decision and ruling.

 66. In response, Biron stated she would not reconsider her ruling or assertions about his case

      which plaintiff had attempted to notify her were unambiguously false and instructed Doe

      to raise any concerns he had about Dartmouth's management of his case to the COS at his

      second hearing.

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67. During the period oftime when Katharine Strong was claiming Dartmouth had raised the
    allegations Doe had been found guilty ofin advance of his hearing, Katharine told
    plaintiffthat if Doe was actually correct and Dartmouth had already reviewed the March

    report long before Doe's September 21st hearing, decided it wasn't appropriate to initiate
    disciplinary allegations regarding the report, and then refrained from ever raising

    allegations regarding the report in advance ofDoe's hearing,then Dartmouth's decisions
    to expel Doe and Dean Biron's ruling in response to Doe's request for review would both
    indeed have been made in violation of Dartmouth's policies and Doe's promised rights as

    a member ofthe institution, and it would not be appropriate to sanction Doe based on the

    contents ofthis report.

        a. Later on, when Dartmouth would come to acknowledge that these elements of

           Doe's(as opposed to Dean Strong's) understanding ofthe situation were true, it

            would refuse to acknowledge that this meant Doe's case had been proceeded upon

           and managed in violation of Dartmouth's policies(as Dean Strong previously had

           to the plaintiff).

68. About November 15*'', Katharine Strong erroneously claimed Doe had failed to comply

    with a deadline she'd imposed, and that this justified imposing an immediate temporary

    suspension upon Doe,in violation ofDartmouth's own policies, the law,common sense,

    and reason.


69. The Dartmouth College student handbook reads:"Immediate, Temporary Suspension.

    The Dean ofthe College, or a designee, has sole discretion to take immediate action to

    preserve and protect the safety and/or welfare ofspecific individuals on campus and/or




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    the College community as a whole during an investigation and pending a hearing in a

    disciplinary case."

70. The Supreme Court explicitly stated that due process only allows immediate temporary

    suspension without a hearing if the student poses an immediate danger to people or

    property(Goss v. Lopez,419 U.S. 565(1975)). When emergency circmnstances do not

    exist, the temporary suspension hearing must be held before the temporary suspension is

    put into effect.

71. After vehemently defending her decision to impose this immediate temporary suspension

    against Doe for aforementioned reasons, Katharine would later admit(to the contrary)

    that she had actually imposed this sanction upon Doe to help remedy billing and grade-

    related issues that had arisen from ambiguities surrounding his enrollment status at the

    institution.

72. Neither Katharine's ostensive or actual justifications for imposing this immediate

    temporary suspension upon Doe were those required for such a sanction to be imposed by

    Dartmouth's own policies, demonstrating her cavalier disregard for and/or lack of

    familiarity with Dartmouth's policies and public law regarding her profession, and the

    defendant's failure to adequately train or supervise even the most senior persotmel

    entrusted with overseeing and performing its disciplinary hearing procedures.

73. This is not the only lawsuit open in this court at the present time in which Dartmouth's

    employees,including its Director ofJudicial Affairs, Katharine Strong, and Dean of

    Dartmouth College Rebecca Biron, are accused of having flagrantly violated the

    College's own policies and both unlawfully and xmjustly expelling a male undergraduate

    student.




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74. Plaintiff wrote every employee ofDartmouth's Judicial Affairs Office informing them of
    Katharine's actions and asking them to intervene or provide plaintiffthe opportunity to

    appeal Dean Strong's "ruling." None ofthese employees responded, other to say that
    plaintiff would not be given an opportunity to appeal Strong's decision.

75. In a recorded in-person conversation between Doe and Dean Strong from about

    November 16'^, Doe presented Dean Strong copies of every single letter and piece of
    information the JAO had provided him in advance of his September 21®* hearing which

    described the allegations that had been raised against him,and asked Strong to simply
    review these materials with him and indicate which parts she believed conveyed notice of

    the allegation Doe had been found guilty ofat his September 21®* hearing.
        a. Although Dean Strong claimed her office had raised the disciplinary allegation

            Doe had been found guilty ofin advance ofin advance of his judicial hearing on

            September 21®*, she refused to go over the(approximately)8-pages of material

            Doe sought to discuss with her in person during their(approximately) 1-hour

            meeting, but promised Doe she would go through the allegation materials he'd

            been given and indicate which parts had provided him such notice by the end of
            Thanksgiving break.

76. Katharine Strong would later refuse to provide the plaintiffthis promised information or

    explain why she would no longer make due on her promise to provide said information.

77. Dartmouth's Student Handbook clearly stipulates that the JAO is responsible for

     answering students' questions and providing them information about the rules ofthe

     College's disciplinary hearing process, as well as their own specific cases. Dean Strong

     violated Dartmouth's policies by inexplicably refusing to provide him aforementioned


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    promised information or fulfill other informational inquiries Doe made over the course of

    his hearing process.

78. In a therapy session, Mark Reed,Director of Dartmouth's Counselling and Health

    Department(CHD)told plaintiffthat no reasonable person in his situation could move

    along with and participate in the upcoming judicial hearing he was being asked to attend

    with any sort ofsovmdness of mind without first being provided the information about

    Dartmouth's policies and his previous disciplinary hearing which John had repeatedly

    asked Dartmouth to provide him. Doe reported this assessment to Katharine Strong, who
    replied by stating she did not care and this would not affect her decision to not provide
    Doe this information, and that she felt it was inappropriate for CHD employees to make

    such comments about the JAO's operating procedures.

79. In conversation with Doe sometime after he was expelled. Dean Strong expressed she had

    not been aware the JAO had investigated the March report in March and April of2017,

    and decided it was not appropriate to raise allegations against him about it at that time.

80. In conversation with Doe,Katharine expressed resentment towards Doe for sending other

    Dartmouth employees his concerns about her management of his case and suggested that

    he had been misrepresenting her actions.

81. Based on advice he had received from Mark Reed, Doe contacted President Phillip

    Hanlon's office providing information and evidence of what'd happened in hisjudicial
    hearing case, and asked ifHanlon or any other employee ofDartmouth would evaluate
    this information to see ifthe College's employees had acted in accordance with

    Dartmouth's policies while managing his judicial hearing case in November.




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82. On November 17*'', 2017,after Doe contacted the President's office, Dartmouth's

    Associate Director of Safety & Security, Keiselim Montas,issued a cease and desist

    notice against Doe, which stated Doe was not allowed to contact anyone at Dartmouth

    College by any means(aside from three specified points ofcontact). Montas threatened to

    file a criminal harassment complaint against Doe with the local police if he made contact

    with anyone else at the College.

83. In the voicemail through which Montas issued the cease & desist notice to the plaintiff,

    Montas told plaintiffto contact him if he had questions about the cease & desist notice.

84. Doe repeatedly contacted Montas in the following weeks asking why he'd threatened to

    take such action against Doe for having made permissible contact with the President's

    office, but Montas would not respond to Doe's calls, emails, or voicemails.

85. Doe raised that it was wildly inappropriate, and in violations of Dartmouth's own

    advertised policies regarding freedom of expression and dissent, for Dartmouth to

    threatened to file a criminal harassment complaint against Doe for simply trying to bring

    violations ofthe College's rules and regulations that'd been committed in his judicial

    hearing case to the attention ofthe relevant administrators. Shortly afterwards. Counsel

    for Dartmouth College granted Doe permission to speak with members of Dartmouth

    whom Montas previously stated he could not.

86. In a phone conversation Doe requested permission to record but Dartmouth employee

    Kristi Clemens would not allow him to, Clemens told the Plaintiffthat even if his

    allegations against the Dartmouth were true, that according to her experience with

    Dartmouth's undergraduate disciplinary hearing system,the institution would not

    acknowledge this or provide remedy unless compelled to by a court oflaw according to



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    her previous experiences with Dartmouth's undergraduate disciplinary hearing system,

    demonstrating the need for judicial intervention in this case.

87. Clemens also lamented about how costly and burdensome Doe's disciplinary hearing

    case had become for Dartmouth and its employees, and told John that she and the

    employees working in Dartmouth's Judicial Affairs Office felt John had been raising

    concerns about their management of his case because he was imwilling to take

    accoxmtability for his own actions, and not because his concerns were legitimate, and

    very specifically, that they felt Doe was raising concerns about their management of his

    case to shift focus away from his own behavior, demonstrating Dartmouth's apparent

    inability to fairly adjudicate John Doe's case after the time he started raising concerns

    about its employees' management of his disciplinary case.

88. Several weeks after Dean Biron responded to Doe's appeal on October 21^,Kevin
    O'Leary of Dartmouth's General Counsel denied John's claims that Dartmouth had failed

    to follow its own rules and procedures in his disciplinary hearing case, and told Doe that

    Dartmouth would not amend its adjudication of his case or engage in settlement

    discussions with him under any circumstances.

89. In conversation shortly afterwards, Kevin demonstrated that he had not actually

    reviewed the information necessary to adjudicate whether or not Doe's claims about

    Dartmouth's employees were true before denying them by(through emails and phone

    conversations) making statements about decisions Dartmouth's employees had made over

    the duration of Doe's case,the justifications these employees had provided to support

    their respective decisions in Doe's case, and the nature ofthe decision-making process




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   and conclusion which the COS reached at Doe's hearing on September 21®', amongst

   other things.

       a. In an email to the plaintiff, Kevin wrote "In your request for review, you asserted

           a procedural error. In other words you said that the College had not followed its

           procedures correctly. As I mentioned above. Dean Biron agreed with you". There

           is virtually no evidence to support Kevin's false assertion that Dean Biron had

           reconciled or acknowledged the fact Dartmouth had failed to follow its own

           procedures and committed procedural errors over the course ofDoe's disciplinary

           procedures.

90. In April, 2017, Brett A. Sokolow,President and CEO ofThe NCHERM Group,LLC

   (formerly the National Center for Higher Education Risk Management)attested under

   oath on a sworn affidavit that after an undergraduate student hired a member of

   Sokolow's firm (Daniel Swinton)to serve as an expert witness in a lawsuit against

   Dartmouth and do a report on the fairness and competence of Dartmouth's adjudicatory

    procedures,that Kevin O'Leary personally called Sokolow to request NCHERM and

    Swinton promptly remove themselves from the litigation, and stated that Dartmouth

    would seek invasive discovery ofNCHERM ifthey did not comply, but would not seek

   such discovery if NCHERM fulfilled O'Leary's request.

       a. Upon information and belief, as general coimsel for Dartmouth College, Kevin

           O'Leary does not attempt to fairly or xmbiasedly review allegations made by those

           who claim they've been wrongfiilly sanction or punished by the College, but

           rather, strives solely to quell such complaints, and is willing to pursue this goal by

           morally and even legally dubious means.



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91. In spite of what he had previously stated, Kevin O'Leary eventually conceded a

    procedural error had occurred in John's case, but erroneously claimed Dean Biron had
    already acknowledged this(Dean Biron explicitly told Doe no procedural error had

    occurred at his hearing on September 21®* 2017,and that this justified her decision and

    ruling in response to Doe's appeal).

        a. No Dartmouth employee other than Kevin O'Leary was able to recogmze that any

            procedural error or violation ofDartmouth's policies had been committed over the

            course ofDoe's disciplinary proceedings in any capacity whatsoever. On the

            contrary. Dean Biron explicitly stated that no procedural error has occurred in

            Doe's disciplinary hearing process through the time ofhis September 21®* hearing.
92. After having previously told Doe that Dartmouth would not potentially settle with him

    under any circumstances, in a phone call about December 23rd, Kevin O'Leary told

    plaintiff that Dartmouth would engage in settlement discussions with plaintiffif

    Dartmouth did not impose a sanction upon him as the result of his second disciplinary

    hearing on January 8***, 2018.In response. Doe raised concerns to O'Leary that

    Dartmouth now had a clear incentive to subjectively enforces its rules and discretion to

    sanction and expel Doe at this hearing, since the Chair would most likely end up

    imposing financial, legal, and/or reputational burdens on their coworkers and employer if

    they were not to impose a sanction ofexpulsion upon him; amongst other things,

     imposing a lesser sanction or none at all would effectively serve to undermine these other

     employees' previous decisions and rulings, whereas subjectively imposing the same

     sanction ofexpulsion would do the opposite and support the veracity oftheir decisions

     and judgement exercised in the management of Doe's disciplinary process.


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93. Doe also pointed out that the adjudicator in his second trial would face these incentives,
    ultimately, because of decisions other Dartmouth employees had already made in

    violation ofthe instructions own written rules and procedures in his case.

94. In response, Kevin O'Leary told Doe he was free to present these concerns to the COS at
    his second hearing (as Dean Biron and Dean Strong had also told Doe), but that

    Dartmouth and its employees would not answer any questions or concems Doe had about

    Dartmouth's management ofhis first hearing in any capacity other than this opportunity
    to present them before the COS. After this point, Dartmouth's other employees became
    unwilling to answer a the vast majority of his basic,reasonable questions about the rules
    and regulations ofthe College's hearing process, as well as his individual case.

95. By refusing to make due on its promises and contractual obligation to provide John Doe
     important information regarding Dartmouth's policies and his previous disciplinary
     hearing case, Kevin O'Leary, Katharine Strong, and Dartmouth's other employees
     unfairly^ inappropriately, and severely impeded his ability to prepare for and participate

     in his second disciplinary hearing and violated the terms ofDartmouth's contractual
     obligations unto the plaintiff.

96. By instruction from Kevin O'Leary,the Chair of Doe's second hearing would prevent
     him from presenting any information whatsoever to the COS on subjects which Kevin
     O'Leary,Dean Biron,and Dean Strong had all promised him he'd be given an

     opportunity to speak before the committee about without even evaluating the information
     herself, and in violation of Dartmouth's policies, basic reason, and fairness.

97. While Dartmouth had already presented several different narratives regarding subjects

     such as whether or not Doe had been given notice ofthe allegation he'd been found guilty


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    of prior to his hearing, and whether or not he had fairly and appropriately been expelled

    as a result of his disciplinary hearing on September 21st, 2017,in a recorded conversation

    with the plaintiff, Adam Knowlton-Yoimg presented an entirely new fictitious narrative

    which justified Doe's expulsion, claiming that the JAO had intended to raise the

    allegation Doe was found guilty ofin advance of his hearing, but failed to as the result of

    a "typo."

98. When Doe pointed out that this narrative could not be reconciled with the facts and
    circumstances of his case and other, different narratives Dartmouth had already provided

    him on these topics, Adam refused to clarify the apparent contradictions, or answer any

    other questions on the subject.

99. Over these months between Doe's fust and second hearings on September 21®'and

    January 9*'', Doe would incur substantial out of pocket expenses as the result of

    Dartmouth wrongfully continuing to subject him to disciplinary procedures that violated

    its own policies, while also unexpectedly den)dng Doe benefits to his food and meal plan

    and other daily living expenses that would've otherwise been covered by his full-ride

    scholarship, causing Doe and his family to incur substantial debts over this period as a

    direct and proximate result of Dartmouth's failme to uphold its contractual obligations to

    the plaintiff.


                                   The Second Hearing



100.John Doe submitted a 166-page report containing his response to the allegations against

    him^ and other information which Kevin O'Leary,Katharine Strong, and Dean Biron all

    told John he could present to the COS in written messages or recorded conversations in

    advance of his second hearing.

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101.Every portion ofDoe's report that addressed a variety ofsubjects which Kevin O'Leary,

    Katharine Strong, and Dean Biron had all explicitly instructed him to raise to the COS

    before his hearing, and reassured Doe that he'd be given an opportunity testify about to

    the COS about was removed jfrom the report. No member ofthe COS which heard his

    case evaluated this information, including the Chair, a violation of Dartmouth's policies

    and its contractual obligation to uphold these policies over the duration ofJohn Doe's

    disciplinary case.

102.While Dartmouth prevented John Doe from presenting information, argument,or raise

    these subjects and events to the COS's attention during his disciplinary hearing, when it

    eventually upheld Doe's expulsion as a result ofhis January 9"* hearing, Dartmouth
    would cite the same specific subjects in support of its decision to sanction Doe,a plain

    violation of Dartmouth's own policies and any reasonable person's interpretation of basic

    reasonability and faimess.

       a. In another lawsuit currently open against Dartmouth, defendant has admitted to

           promising another student that he would be given an opportunity to share

           information on specific subjects with the COS,and then subsequently denying the

           student an opportunity to share that same information at their hearing {Doe v.

           Trustees ofDartmouth College, Case l:18-cv-00040-LM).

103.The vast majority ofthe information John submitted was omitted from the report

    Dartmouth eventually gave the COS.

104.Upon arriving at his hearing on January 8***, 2017,Dartmouth-employed attomey

    Katharine P. Burke notified John she would be serving as chair at his hearing instead of

    the person who'd previously been designated to(who was allegedly ill). In doing this.


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    Dartmouth violated its promise and obligation to provide the names ofthe individuals

    who'd adjudicate his case in advance of his hearing.

       a. Doe would have urgently exercised his right to request Burke not serve as chair at

           his hearing if Dartmouth had given him notice she'd be serving on the committee

           as its own policies require.

lOS.In May 2013, Dartmouth alumni from the class of'79, Joseph Asch published an article
    titled "COS STORIES: BURKQUEMADA."

106.1n that article, Katharine Burke is described as being an abusive COS adjudicator with

    little regard for the Colleges rules, or the fairness and integrity ofthe disciplinary

    hearings she oversees, and who routinely threatens students and acts capriciously while
    performing her duties as COS chair-a description that characterized Burke's

    management ofDoe's hearing on January 8***.
        a. The disparate treatment offered to students accused of disciplinary misconduct

            based on the specific Dartmouth employee designated to serve as COS Chair at a

            particular student's hearing fiirther demonstrates Dartmouth's failure to retain

            employees who are adequately trained and supervised to treat and discipline

            student's accused or found guilty or accused ofcommitting similar acts of

            misconduct.


lOT.Burke was a biased adjudicator in John Doe's case who demonstrated a lack of disregard

    for Dartmouth's policies and violated Doe's promised rights as a member ofthe College

    and a participant in its disciplinary processes on the date of his hearing.

108.Upon information and belief, Katharine Burke systematically abuses the power she is

    given as COS Chair to determine, amongst other things, whether or not specific segments


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    ofher dialogue with accused students are made before recording equipment and
    witnesses, and which are delivered in the secrecy ofa private room where the student is
    legally prohibited from recording, or creating any sort of evidence oftheir interaction, to
    abuse and infringe upon the rights accused students at their hearings in ways described
    herein, and in aforementioned article.

109.Prior to the start of his hearing Doe asked Burke ifshe had read any ofthe information

    omitted from his original report, and she openly admitted she had not, and did not intend
    to.


110.Dartmouth's policies provide that in a COS hearing, it is the duty ofthe Chair to review
    information submitted by the accused student, and by failing to perform this obligation in
    Doe's case. Burke failed to conduct her role in his disciplinary hearing fairly or according

    to Dartmouth's policies.

Ill.John Doe repeatedly begged Burke to acknowledge it was the duty ofthe COS chair at
    his hearing to review all the information he'd submitted, and in response. Burke refused
    to do so.


112.Before his hearing, John notified Burke that Dartmouth's General Counsel, director of
    Judicial Affairs, and College Dean had all told him he would be allowed to share the

    information that'd been omitted from his original report(and she had prevented him from

    sharing without reading).

113.Upon Burke's request. Doe forwarded her an email Dartmouth's General Counsel had
    sent him weeks prior, in which Doe had been told he'd be able to share the omitted

    information with the COS.




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114.After reviewing said email and speaking on the phone with Kevin O'Leary privately,
    Burke threatened to cancel Doe's hearing, send him on the next flight home,and draw

    out his College hearing process for weeks or months longer if he mentioned any ofthis
    information he'd previously been told he could share with the COS by Dartmouth
    employees including Kevin O'Leary, but which O'Leary himselfinexplicably instructed
    Burke to prevent Doe from sharing with the COS on the date of his hearing.
I IS.Burke placed several other restrictions on what Doe could disclose which were severely
    detrimental to his ability to participate in the hearing and prevented him from being able
    to testify before the COS on subjects and events related to the allegations against him,
    and which were clearly relevant to the COS's decision of what sanction ought to be

    imposed upon Doe.

116.Dartmouth was abundantly aware Doe sought, and had been promised he'd be given the
    opportunity to present evidence about subjects which Burke inexplicably prevented him
    from speaking about to the COS.

117.Based on its review ofthe March report Dartmouth imposed a sanction of permanent

    separation from the College upon Doe as the result ofhis second disciplinary hearing on
    Januarys^ 2018.

II S.The finding report from Doe's hearing was written by Assistant Director ofDartmouth's
     Judicial Affairs Office, Adam Knowlton-Young.

119.In the fmding report, Adam wrote that"Despite his assertion that he accepted

     responsibility and described his behavior as the "worst thing" he'd ever done,the
     student's other statements led the Committee to believe that he felt his actions during this

     period were justified, and that [Sally], her family, and Dartmouth were to blame. Under


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   the circumstances, the panel expressed concern for the safety and security ofthe

   Dartmouth community ifthe student were to continue his education here."

       a. Adam made no attempt to identify what "other statements led the Committee to

           believe that he felt his actions during this period were justified, and that [Sally],

           her family, and Dartmouth were to blame."

       b. Such judgement is in conflict with the verdict Dartmouth reached based on its

           initial investigation ofthis report in March & April of2017,and is both arbitrary

           and capricious.

120.1n his report on Doe's second hearing, Adam claimed that the COS had considered Doe's

    decision to present information alleging Dartmouth's employees had mismanaged his

    case, despite that in reality. Doe had been wrongfully prevented from sharing these
    concerns with the COS,and that Dartmouth's policies clearly stipulate these are not

    groimds upon which a student may be sanctioned for.

121.Adam cited a number of other subjects and events in his report which Burke had

    specifically barred Doe from sharing with the COS at his hearing in any way,such as that
    Dartmouth had failed to perform his disciplinary hearing procedures fairly or

    appropriately.

122.Doe had previously raised concerns about Dartmouth's Billing and Financial Aid
    departments, which has charged Doe for services he had not requested and were not

    rendered to bim^ promised to remove these charges for months,and then after repeatedly

    failing to remove the charges as they had promised to,eventually went back to Doe and
    persistently tried to make him pay for the charges and interest. These departments also
    misappropriated funds from the plaintiffs scholarship-funded tuition credits, and both


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   have,and continue to insist Doe pay out-of-pocket to cover the debt which arose on his

   account as a result oftheir processing errors.

       a. Doe asks the court order Dartmouth to remove charges it has inappropriately

           made to his student account, such as charges made for food and housing during

           terms which Doe was not even on campus or enrolled for classes.

123.The COS was not made aware ofDoe's concerns regarding Dartmouth's Financial Aid

    and Billing Departments in any way,and yet, Adam cited them in his report summarizing
    the Committee's decision.

124.Upon information and belief, the case report Adam provided John does not accurately
    represent the COS's consideration or adjudication of his case.

125.However,if Adam's finding report actually does accurately depict the COS'sjudgement

    in Doe's case,this would necessarily mean that Chair Burke prevented Doe from

    testifying and presenting evidence to the COS on the subject matters which it later based
    its decision upon in his case, and thus, violated Dartmouth's policies and denied him the
    opportunity to a fair hearing.

126.Dartmouth's decision to impose a sanction ofexpulsion upon Doe on January 9**^ was
    motivated by the fact that Doe had raised allegations that the College failed to treat him

    fairly or abide by its own rules and regulations, a grave violation ofthe institution's own

    advertised policies supporting its members' rights to expression and dissent.

127.Said information which Doe had presented in the segments ofthe report he'd written for

    the COS,but which Dartmouth omitted from the report before passing along to the

    committee,contained allegations Dartmouth had discriminated against him on account of

    his gender. Retaliation against a person because that person has complained ofsex


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    discrimination is another form ofintentional sex discrimination encompassed by Title

    IX's private cause of action.

128.Kristi Clemens provided an erroneous narrative of what transpired during their meeting at

    the start of April, which Doe was effectively denied the ability to protest and correct for

    the committee because ofthe restrictions Burke had imposed on what subjects he was

    allowed to testify about.

129.Adam's report contains conjectures such as "the student's description of his pain, anger

    and motivations did not appear to have diminished over time and did not convey genuine

    remorse or growth," which are entirely unsupported by, and in contradiction with Doe's

    testimony.

130.It is inappropriate for Dartmouth to have sanctioned Doe based on the contents ofthe

    March report in spite ofits previous decision not to, because ofsuch subjective and

    arbitrary perceptions as these that its employees reached later on, and as the result of

    disciplinary procedures and processes Doe was wrongfully subjected to, or which were

    carried out in violation of Dartmouth's policies.

131.On January Q"*, the day after Doe's hearing, he met with Katharine Burke(and several

    other employees who were present but did not participate in the meeting) who informed

    him his expulsion had been upheld.

132.These employees then compelled Doe to submit himselfto the emergency room at

    Dartmouth Hitchcock Medical Center against his will, and despite that he did not pose a

    threat to himself or anyone else at the time or done anything to demonstrate he did.

        a. At this meeting. Doe expressed that it was not necessary or appropriate for him to

            be submitted to the emergency room,and that he also would not be capable of


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   paying the costs associated with such a visit, and in response Dartmouth's

   employees told Doe that Dartmouth would cover any medical expenses associated
   with his stay at the hospital, but that if Doe did not immediately comply with their
   demands to go,that they would call the police and that he would be "forced to go

   in handcuffs." Doe, who felt he had no other choice, complied with their demands

   and submitted himselfto the hospital.

b. Several months later. Doe received a bill for the ambulance ride, as well as a bill

   for the cost ofservices he was provided at Dartmouth Hitchcock Medical Center

   which were not covered by plaintiffs insurance for a sum of$715.14.

c. When plaintiff wrote asking Dartmouth to cover these costs months later, one of

   its employees(who was not at the meeting where plaintiff had been promised

    Dartmouth would cover these medical costs) replied to Doe falsely claiming

    Dartmouth's employees had actually only promised to pay for the costs associated

    with his ambulance ride, and that it would not repay any ofthe other expenses

   from the unnecessary medical treatment Dartmouth's employees had compelled

    Doe to vmdergo against his expressed will. In response. Doe asked for a recording

    ofthe meeting so he could "set the facts straight," and Dartmouth informed him it

    had not recorded the meeting. Doe then asked if he could at least speak with the

    individuals who had been present at this meeting to determine if any ofthem were

    able to remember what'd actually happened, and in response, Dartmouth told Doe

    that he could not, and that its decision was final. In doing so, Dartmouth unjustly

    violated its earlier promise to pay the costs associated with the medical visit Doe

    it compelled Doe to undergo.



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       d. In his own notes from the day ofthe event. Dr. Mark Hiatt wrote "[Doe] said he

           could not afford the hospital and I told him that we have options for financial

           assistance."


133.About January 22nd,John Doe submitted an appeal ofthe Committee on Standards'
    sanction.


134.As grovmds for appeal ofthe sanction John Doe raised the various irregularities,
    procedural errors, and violations ofDartmouth rules and regulations which transpired
    over the course of his judicial hearing process.

135.0n February 5th 2018,Dartmouth Interim Provost David Kotz upheld the COS's

    decision and denied that any procedural error had occurred in Doe'sjudicial hearing case.

136.0ther than reciting the standards by which Dartmouth's policies designate these decisions

    must be made, David Kotz provided no other information in his response to Doe's appeal

    and did not provide a word responding to or acknowledging the substance ofthe

    information and concems Doe raised to him.

137.Doe had reached out to Provost Kotz's office asking if he would be willing to review

    information regarding his disciplinary hearing case to determine if Dartmouth's

    employees had acted according to its rules and procedures months prior to when Kotz

    evaluated Doe's request for review, by suggestion ofthe secretary ofDartmouth's Board

    of Trustees.


138.In response, Kevin O'Leary of Dartmouth's General Coimsel responded to Doe speaking

    on Kotz's behalf, expressing Kotz's apparent willingness to defer to O'Leary'sjudgement

    on how to respond to said concems and complaints prior to the time Kotz eventually

    reviewed Doe's appeal.



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139.Kevin O'Leary is one ofthe individuals whose actions Doe brought into question in his

    appeal to Provost Kotz.

140.Upon information and belief, Kotz's professional relationships with the individuals Doe

    had alleged failed to fairly and appropriately conduct his judicial hearing process

    motivated his wrongful decision not to acknowledge,identify, or try to provide remedy

    for what'd happened over the course of Doe's case.

141.In making said ruling in Doe's case. Provost Kotz was negligent in performing his duty to

    fairly and appropriately investigate allegations ofadministrative and/or employee

    misconduct at Dartmouth.


142.Furthermore, Dartmouth failed to fiilfill its obligation to provide an unbiased arbitrator

    who would make a good faith effort to review the facts and circumstances of appealing

    students' cases and ensure the College's policies are upheld.

143.Shortly after submitting his appeal, John Doe wrote an email to the COS panel members

    who adjudicated his case containing a copy ofthe report Dartmouth's employees had

    prevented him fi-om sharing with them before or during his hearing.

144.1n response, Dartmouth's General Counsel and Safety and Security Department issued a

    cease and desist notice against and accused the plaintiff of violating a College policy that

    prohibits such contact with members ofthe COS(Dartmouth would later concede that no

    such rule exists).

145.John Doe asked Dartmouth's General Counsel, an Undergraduate Dean, and Safety and

    Security where this policy he'd allegedly broken could be found, but none would provide

    him the information desired.




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146.1n a phone conversation about February 3'^'' 2018, Adam Knowlton-Young eventually
    confessed to Doe that no such policy barring contact with the COS like the one

    Dartmouth's General Coimsel and Safety and Security had accused him of violating

    actually exists.

147.On February 4^ 2018,Doe wrote an email to Dartmouth's general counsel and other

    employees involved in his disciplinary hearing procedures asking why they had issued a

    cease and desist notice against him for allegedly violating a policy which did not actually

    exist. Plaintiff did not receive a response to this inquiry, and on the day after he sent it.

    Provost Kotz upheld the plaintiffs expulsion.




 Cnngerninff Actions & Patterns of Behavior Undertaken bv Dartmouth Employees


148.Dartmouth's policies stipulate that at various points over the course ofthe events

    described herein, that Doe ought to have been allowed the opportunity to have the actions

    ofthose employees of acted inappropriately or unfairly while managing his case fairly

    and imbiasedly reviewed by at least the following Dartmouth employees: the Dean ofthe

    College, the Provost ofthe College,the President ofthe College, the COS Chair, and

    various members of Dartmouth's Judicial Affairs Department, and Dartmouth's General

    Counsel(or at least member Kevin O'Leary, who represented to the plaintiff while

    performing his role in an official capacity that hisjob is to see that Dartmouth is

    compliant with its own policies).

149.Upon information and belief, most,if not all ofthese supervisors work closely with one

    another, and with the employees who they were designated to supervise and scrutinize the

    conduct ofin Doe's case.


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150.John Doe persistently tried to present evidence showing Dartmouth's employees had

    failed to conduct their duties appropriate to each ofthese Dartmouth "supervisors" at the

    relevant times during his disciplinary hearing procedures and on each occasion

   (regardless of how severe, unambiguous, and well-evidenced the infraction which Doe

    was attempting to bring to their attention might be)that supervisor would either(1)

    present an erroneous,imaginary narrative thatjustified whatever inappropriate decisions
    or behaviors Doe raised concems about, but which also starkly contrasted with all

    available evidence on the misconstrued subject matters, or(2)commumcate they were

    either uninterested or unwilling to evaluate the information and concems Doe had

    presented them.

151.Over the course of his entire disciplinary process, not a single Dartmouth employee was

    able to reconcile an imderstanding of what transpired during his disciplinary proceedings

    that is consistent with the pertinent facts and evidence, or the reality of what happened.

152.While these false narratives were often based on differing accounts ofthe very same

    events and information, one thing they held in common was that the falsified portions of

    each narrative conveniently served to justify wrongful actions imdertaken by Dartmouth's

    employees,and consequently, what Doe had been subjected to as a consequence ofthese

    wrongful actions.

153.After one Dartmouth employee would present one false narrative to the plaintiff,

    Dartmouth's other employees would then support it, even when presented information

    that incontrovertably demonstrated the falsified portions ofthese accounts could not be

    true.




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154.The evidence will show that Dartmouth's employees and "supervisors" were playing a

    game of Whack-a-Mole with Doe — they would fabricate one narrative thatjustified his
    expulsion and the inappropriate decisions and rulings that'd been made by the individuals
    managing his case, and when he would try to dispel it, they would then come up with

    another reason.


ISS.Over the course ofthese events, Dartmouth's employees refused to answer dozens of

    John Doe's basic inquiries about the rules and regulations ofthe College's disciplinary

    procedures, as well as the plaintiffs specific case, in spite ofthese employees' clear
    obligation to provide such information based on their employer's contractual obligations

    to the plaintiff, and often, even these employees' own promises to provide Doe the
    information he'd requested and assurances that Dartmouth did, in fact, have a duty to

    provide plaintiffthe information in question. As a result, Dartmouth failed to uphold its
    contractual obligations unto the plaintiff and compelled him to attend fundamentally

    unfair hearings.

156.On many occasions, Dartmouth's employees would inexplicably make this excuse to

    refrain from answering questions which Dartmouth's employees had already answered

    for Doe on multiple occasions(affirming his inquiries were,in fact, reasonable, and that

    Dartmouth would answer such questions for a student in normal circumstances), but

    which Dartmouth had already provided Doe contradictory or otherwise differing and

    unreconcilable responses to on separate occasions, making it impossible for Doe to

    discem which ofthe statements were,in fact,true, and necessitating further inquiry to

    Dartmouth for clarification on his behalf.




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157.Plaintiff reasonably infers that Dartmouth's employees refrained from responding to his
    information inquiries, and from upholding their obligations to do so in these
    circumstances because doing so would necessarily require refuting at least one ofthe
    differing, unreconcilable facts and narratives Dartmouth had provided Doe when he d
    previously made the same inquiries, such as "did Dartmouth provide me notice ofthe
    allegation I was found guilty of and expelled for at my hearing on September 2PV which
    Dartmouth had responded to by saying both "yes" and "no" on different occasions.
158.Given the facts and circumstances, plaintiff reasonably infers that the paralleled

    behaviors and silent acquiescence ofDartmouth's employees were not simply the result
    ofindependent errors ofjudgement in fact and acts of negligence, but rather, part ofa
    collaborative, conscious effort to refrain from fairly or accurately examining or

    adjudicating John Doe's case, or what this would necessarily require-identifying the
    violations of Dartmouth's rules and procedures their coworkers and peers committed over

    the duration of his proceedings.

159.Over the course ofthese events and the plaintiffs life, he has never done anything that

    could conceivably make another member ofthe Dartmouth community have justifiable
    reason to fear harm offeel threatened. Despite this, Dartmouth cited that"Doe made

     members ofthe Dartmouth community feel threatened and/or fear harm" to support its

     treatment and sanctioning ofDoe throughout his case, while refusing to provide any

     evidence that might support such a claim or justify such feelings.

160.About July 23rd,2018, Mark Reed of Dartmouth's CHD sent an email containing John
     Doe's private medical records to Dana Scaduto ofDartmouth's General Counsel.




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161.The information Reed shared with Scaduto was not related to any pending litigation

    Dartmouth had notice of at the time, and John Doe had specifically asked that Reed

    refrain from revealing any ofhis private, protected medical information with Dartmouth s
    General Counsel almost immediately before Reed did just that.

162.By sharing Doe's private medical information and records with Dana Scaduto, Mark
    Reed violated Doe's right to privacy, regulations surrounding patient-doctor

    confidentiality, and the guidelines provided in the United States Department of
    Education's,Dear Colleague Letter to School Officials at Institutions ofHigher

    Education.




      DftfenHant's Actions Have Severely Damaged Plaintiff Doe^s Entire Future


163.Plaintiff expected to graduate from Dartmouth in the spring of2018

164.As a result of Dartmouth's actions,the plaintiff's academic career is ruined, and without

    a Dartmouth degree his education and earnings capacity will be forever diminished.
165.Plaintiffs academic and disciplinary record has been destroyed, and there is an incredibly
    remote chance that he will be able to complete his undergraduate degree at any school in

    the United States ofremotely similar quality to Dartmouth.

166.1f he can complete his bachelor's degree, plaintiff will have endured substantial delay
     because ofDartmouth's actions. In the status quo. Doe will almost certainly be unable to

     complete his undergraduate degree at another institution until the year 2021; until he was
     first wrongfully expelled on September 2V^,2017,Doe's projected graduation date was
     in June 2018.




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167.1f Dartmouth had not specifically told Doe it had determined that it was not appropriate

    to potentially impose a disciplinary sanction against him based on its investigation ofthe

    March report, it would've been possible for him to make arrangements in time to attain

    his degree at another institution by 2020. This additional delay in Doe's attainment ofan

    undergraduate degree and ascension to the workforce will cause plaintifffurther

    reductions in his employability and earning capacity, and other likely permanent harms.

168.John Doe invested hundreds ofthousands of hoxirs over the first 18 years of his life in

    order to gain acceptance to a college ofsimilar quality as Dartmouth. In high school, he

    led, managed, and founded various student groups; he earned various honors and awards

    for his efforts in serving the community; he spent years studying for the SATs imtil he

    was able to attain perfect scores on multiple sections; and through incredible sacrifice.

    Doe managed all his responsibilities while taking the most difficult courses possible, and

    earning the grades necessary to gain acceptance to a school ofsimilar quality as

    Dartmouth.


169.As the result of Dartmouth's imjust and unlawftil actions described herein, these

    investments and sacrifices will have been rendered worthless, as it is inconceivable

    plaintiff will ever be granted acceptance or the ability to earn a degree at a school of

    similar quality as Dartmouth.

170.John had worked hard at Dartmouth to have a strong GPA to get into law school and to

    make his applications for the jobs he planned to apply for after graduating from

    Dartmouth as competitive as possible and was deeply active in academic and

    extracurricular programs as a student at Dartmouth.




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171.John will now have to disclose, and defend himself against, his deeply blemished

    university record and reputation to every law school and professional graduate school to

    which he applies, and to prospective employers.

172.Because ofthe expulsion on his record,the possibility that plaintiff will gain entry into

    graduate school is remote.

173.Plaintiff will forever have to explain why his record shows he did not graduate from

    Dartmouth College which will negatively impact his lifetime earnings.

174.Dartmouth's Student Handbook states "Examples ofconduct that have led to suspension,

    and in some instances separation from the College, include arson, bomb threats, driving

    vmder the influence, sexual assault, other forms of physical assault, and drug dealing."

175.As a consequence of what Dartmouth has done to John,every person,company,

    institution, or association in his life that leams he attended, but did not graduate

    Dartmouth, will have reason to suspect he was expelled for committing some action

    which represented comparable levels of harm to others as the aforementioned crimes-a

    stigma that will haunt plaintifffor the remainder of his life.

176.Without appropriate redress the unfair outcome of Dartmouth's flawed disciplinary

    process will cause irreparable harm to plaintiff by not permitting him to complete his

    education at Dartmouth,impairing his ability to continue his education elsewhere, and

    impacting his ability to work in his chosen field should he complete his bachelor's degree

    — professional consequences which will affect him for the remainder of his life.

177.As a result of Dartmouth's actions, plaintiff has been put through excruciating suffering,

    required extensive psychiatric and medical support, and been diagnosed with debilitating

     depression — problems Doe had never experienced before this incident, and subjected to


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    this preposterous,torturous treatment and process. John has nightmares and flashbacks of
    the events described here and suffers other symptoms ofpost-tra\imatic stress disorder

    associated with them. At least three of Doe's different family members have sought

    psychological therapy or coimselling because ofthe intense pain and trauma they have
    experienced alongside Doe over these events.

178.Today,in this courthouse. Plaintiff seeks to hold Dartmouth College liable for these
    catastrophic injuries and asks for ajury verdict to revendicate his life.



                                  CAUSES OF ACTION

                                   T. Breach of Contract



179.Plaintiffrepeats and realleges the allegations above as iffully set forth herein.
180.At all times relevant hereto, a contractual relationship existed between Dartmouth and the
    Plaintiffthrough, inter alia, Dartmouth's Student Handbook, matriculation contracts, and
    oral statements yielded by Dartmouth's administrators, trustees, and employees.
181.Dartmouth was required to act in accordance with that contract.

182.Dartmouth breached its contract with Plaintiff by failing to substantially comply with its

    own policies, violating Doe's promised rights as a member ofthe institution, and by
     making irrational, arbitrary, capricious, and fundamentally unfair determinations and
     rulings over the course of his disciplinary proceedings.

183.As a direct and proximate result ofthat breach plaintiff suffered the harms described
     herein.

184.Plaintiff is entitled to recover damages for Dartmouth's breach ofits contractual

     obligations and duties including specific performance ofthe contract.
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                  IT. Breach of Covenant of Good Faith and Fair Dealing


185.Plaintiff repeats and realleges the allegations above as iffully set forth herein.

186.The student-university contract contains, as do all contracts, an implied covenant of good

    faith and fair dealing.

187.Dartmouth breached and violated the covenants ofgood faith and fair dealing implied in

    its agreement with Plaintiff by mishandling the investigative, evaluative, and adjudicative
    elements of hisjudicial proceedings, by failing to provide Plaintiff with the information
    and assistance he requested, by threatening him during adjudication, by meting out a

    disproportionate sanction of expulsion, by failing to fairly and consistently adjudicate his
    disciplinary hearing process, by refusing to be honest or forthcoming with Doe,by
    repeatedly insisting upon obvious falsehoods, by subjecting him to disciplinary
    proceedings other than and in addition to those described in Dartmouth's policies, by
    using the broad discretionary powers which Dartmouth has granted itself in its own

     policies in ways, or for purposes explicitly prohibited by,or antithetical to said contracts
     and policies, and by ignoring the many reasons why Plaintiffs appeal should have been
     granted and/or appropriately responded to, as averred in this complaint.

188.As a direct and proximate result ofthat breach Plaintiff suffered the harms described

     above.


                                           111. Title IX



189.Plaintiff incorporates each ofthe paragraphs above as iffully set forth herein.

190.Title IX OfThe Education Amendments Of 1972,20 U.S.C. § 1981 et seq.(Title IX"

     provides that in relevant part that"[n]o person in the United States shall, on the basis of
     sex, be excluded from participation in, be denied benefits of, or be subjected to
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    discrimination under any education program or activity receiving Federal financial

    assistance."


191.Dartmouth receives extensive federal funding.

192.Pursuant to Title DC ofthe Education Amendments of 1972, Dartmouth is prohibited

    from subjecting plaintiff to a disciplinary proceeding where the severity ofthe penalty
    and/or the decision to initiate the proceeding was affected by his gender.

193.Pursuant to Title DC ofthe Education Amendments of 1972 Dartmouth is further

    prohibited from providing a disciplinary proceeding that is not prompt or equitable.
194.Dartmouth initiated and conducted the investigation and subsequent hearing of Sally

    Smith's March report in a manner that was biased against plaintiff due to his sex.

195.Compared with its treatment of Doe,Dartmouth has treated two female students(which
    plaintiff will name)accused ofcommitting the same conduct violations highly favorably,
    demonstrating how gender impacted the College's investigation and adjudication of his

    judicial proceedings.

196.Dartmouth's employees selectively enforced their policies so as to find the male student

    (John)responsible for a policy violation while declining to initiate formal disciplinary

    proceedings or impose similar sanctions on female students accused and/or found guilty

    of committing the same behavior.

197.Dartmouth violated plaintifFs right to be free from discrimination on the basis of sex by

    subjecting bim to a disciplinary proceeding marked by the aforementioned procedural

    flaws and gender bias, that resulted in the plaintiff being inappropriately sanctioned.

198.Upon information and belief, at least one Dartmouth administrator who played an integral

    role in the adjudication of John Doe's case held the beliefthat men are inherently violent.


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199.Dartmouth violated plaintiffs right to be free from discrimination on the basis ofsex by

    subjecting him to a disciplinary proceeding marked by the aforementioned procedural
    flaws and gender bias,that resulted in the plaintiff suffering the harms described herein.
200.As a direct and proximate consequence ofDartmouth's Title IX violations. Plaintiff has

    sustained significant damages including expulsion from Dartmouth and profoimd

    emotional suffering and distress.


                                        IV. Negligence


201.Plaintiff repeats and realleges the allegations above as iffully set forth herein.

202.Dartmouth had a duty of care, imposed on it by its policies and voluntarily imdertaken,to

    conduct its disciplinary hearing procedures fairly, consistently, and in accordance with

    Dartmouth's own rules and regulations.

203.Dartmouth's employees breached that duty by pursuing their investigation and

    adjudication in a manner that violated or deviated from its policies, and was arbitrary,

    capricious, unfair and biased.

204.Furthermore,Dartmouth was negligent in performing its duty to adequately train and

     supervise with overseeing its imdergraduate disciplinary hearing processes.

205.As a direct and proximate result ofthat breach plaintiff suffered the harms described

     above.


                       V. Neffliffent Infliction of Emotional Distress


206.Plaintiff incorporates each ofthe above paragraphs as iffully set forth herein.

207.Defendant Dartmouth owed duties ofcare to plaintiff as averred in the sixth cause of

     action.



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208.Defendant Dartmouth breached its duties owed to plaintiff.

209.As a direct and proximate result ofthis breach, plaintiff sustained tremendous damages,

    including, without limitation, emotional distress, psychological damages,loss of
    reputation, loss of education opportunities, economic injuries and other direct and
    consequential damages.

                        VT. Tfitentional Infliction of Emotional Distress

210.The foregoing allegations are incorporated herein by reference.

211.The actions of Dartmouth were willfiil and intentional.

212.Dartmouth knew ofshould have known that its actions in finding John responsible ofa

    violation as the result of a fundamentally flawed disciplinary process, labeling him as a

    serious miscreant that posed a substantial harm to the Dartmouth commumty,and the
    other inappropriate treatments he was subjected to described herein, would cause John
    severe emotional distress.

21S.Dartmouth's conduct was extreme and outrageous, beyond the bounds of decency,and

     utterly intolerable in a civilized community.

214.Dartmouth's conduct was the direct and proximate cause of John's severe emotional

     distress. He is deeply depressed and anxious; he is no longer able to sleep through the
     night; and he has had suicidal ideation.

215.As a direct, proximate, and foreseeable consequence ofDartmouth's aforementioned
     conduct, John's academic and career prospects, earning potential, and reputation have
     been severely harmed. He has sustained significant damages,including but not limited to,
     severe emotional distress, damages to physical well-being, emotional and psychological
     damages, damages to reputation, past and future economic losses, loss ofeducational and


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    professional opportunities, loss offuture career prospects, and other direct and
    consequential damages.

216.As a result ofthe foregoing, John is entitled to recover damages in an amount to be

    determined at trial, plus prejudgment interest and the reasonable costs ofthis action.

                                 VII. Estoppel and Reliance


217.Plaintiff Doe incorporates each ofthe above paragraphs as iffully set forth herein.

218.In the event the Court were to find that no contracts exist between Plaintiff and

    Defendant, Dartmouth,through but not limited to its regulations, standards, procedures,

    and policies, made representations to Plaintiff, independent of any express contractual
    promises,that Dartmouth expected or should have expected would induce Plaintiffto
    apply to and continue to enroll at the College.

219.Similarly, Plaintiff gave up competing offers from other prestigious schools because he

     believed on and acted based on the belief he obtained from Dartmouth's representations.

220.Plaintiffrelied on Dartmouth's expressed and implied promises that he would not

     arbitrarily be sanctioned, much less expelled based on the contents ofthe March report

     after Dartmouth had investigated the report pursuant to its own policies and determined it

     wasn't appropriate to raise disciplinary allegations against him based on the mformation
     it contained; that he would be treated reasonably, fairly, and according to its written and

     stated policies and procedures; and that he would not be discriminated against based on

     his sex by the College while enrolled in it.

221.Plaintiffjustifiably relied on Dartmouth's expressed and implied promises to his

     detriment, as Dartmouth failed to adhere to them.



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222.As a direct, proximate and foreseeable consequence of Dartmouth's conduct, Plaintiff

    sustained significant damages including, but not limited to, possessing an academic

    and/or disciplinary record(s)that includes a notation he was expelled from the College,

    further substantial delays in his eventual attainment ofa degree, and substantial costs and

    debts accrued while participating in the disciplinary hearing procedures he was

    wrongfully subjected to.

223.Plaintiff has also suffered monetary damages,debilitating emotional distress and

    suffering, loss ofeducation opportunities, and other direct and consequential damages.

                        VTTT. Unfair and Deceptive Trade Practices



224.Plaintiff incorporates each ofthe above paragraphs as iffully set forth herein.

225.The state ofNew Hampshire's Regulation of Business Practices for Consumer Protection

    laws create a private right of action for consumers ofNew Hampshire-based services,

    such as Plaintiffs consumption of Dartmouth's education,food and housing services,

    whose characteristics have been misrepresented,including "any unfair method of

    competition or any unfair or deceptive act or practice in the conduct ofany trade or

    commerce(Section 358-A:2 - Acts Unlawful ofTitle XXXI- Trade and Commerce).

226.Defendant Dartmouth has engaged in acts and practices that are deceptive or misleading

    in a material way,or committed deceptive acts or practices, which were aimed at the

    consumer public at large, that were a representation ofomission likely to mislead a

    reasonable consumer acting reasonably under the circumstances because they create the

    likelihood of confusion and misunderstanding, and are otherwise unfair and deceptive in

    the context ofthe situation, by causing Plaintiff and other consumers of Dartmouth's




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    education and other consumer goods and services to believe that Dartmouth would follow

    its policies both as they were provided to plaintiff as stated in Dartmouth's policies.

227.Defendant had no intention offollowing and in fact did not follow its own policies and

    procedures, or the various terms ofits contractual agreements with the plaintiff.

228.While Dartmouth's advertises that students who join the College will be treated in

    accordance with its rules, policies, and the Student Handbook(and thus,that it will retain

    the necessary and appropriately trained staffto ensure compliance with these policies),

    and that student's will be granted opportunities to have allegations they have not been

    treated in accordance with said policies fairly and unbiasedly reviewed, but in reality,

    Dartmouth is indifferent towards such allegations regardless oftheir veracity, and either

    knowingly refrains from acknowledging them,or is reckless in its examination ofsuch

    complaints, falling far short of Dartmouth's own depiction of what it offers

    undergraduate members ofthe institution.

229.Based on the foregoing defendant Dartmouth engaged in deceptive or unfair trade

    practices in violation ofthe New Hampshire's Regulation of Business Practices for

    Consumer Protection laws.

230.As a direct, proximate and readily foreseeable consequences ofDartmouth's unjust and

    unlawful conduct Plaintiff has sustained significant damages including, but not limited to,

    possessing an academic and/or disciplinary record(s)that includes a notation he was

    expelled from Dartmouth.

231.Plaintiff has also suffered monetary damages,emotional distress, loss ofeducation

    opportunities, and other direct and consequential damages.

            IX.Equitable Relief in the Form of a Declaratory Judgement



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232.Plaintiff incorporates each ofthe above paragraphs as iffully set forth herein.

233.Defendant has violated its contract with Plaintiff, federal, and state law.

234.Due to those violations plaintiffs education, career and life have been damaged.

235.Without appropriate redress, the discrimination plaintiff endured which is described

    throughout this complaint will continue to cause irreversible damages to plaintiffs

    reputation, emotions, sense of worth, academic, and professional development for the rest

    of his life.

236.As a result ofthe foregoing there exists a justiciable controversy between the parties with

    respect to the outcome, permanency, and future handlings of plaintiffs formal academic

    and disciplinary student record at Dartmouth and his alumni status.


                   X.Negligent Training and Supervision of Employees


237.Plaintiff repeats and realleges the allegations above as iffully set forth herein.

238.Dartmouth had a duty to exercise reasonable care in seeing that the employees and

    administrators tasked with overseeing and performing its disciplinary procedures were

    adequately trained, supervised, and familiarized with Dartmouth's own rules and

    procedures as necessary for them to effectively abide by and uphold these policies.

239.Furthermore, Dartmouth had a duty to adequately supervise its employees to ensure they

    act and behave appropriately and according to Dartmouth's rules and policies.

240.Dartmouth failed to exercise reasonable care in training or supervising its employees, as

    demonstrated by the myriad ofnegligent behaviors and misconduct they committed over

    the comse of Doe's disciplinary hearing, and that the supervisors in charge ofthese

    employees failed to recognize even the most unambiguous instances of wrongdoing

    which Doe presented them.

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 241.As a resxilt, the Dartmouth employees tasked with overseeing Doe's disciplinary
      proceedings committed the negligent behaviors, misconduct, and other actions which

      precipitated the injury and suffering John Doe has been subjected to described herein.

                             XI. Fraudulent Misrepresentation


 242.Plaintiffrepeats and realleges the allegations above as iffully set forth herein.
 243.Agents ofDartmouth College(including but not limited to Kevin O'Leary, Katharine
     Strong, Anne Hudak,and Rebecca Biron) made false representations of material fact to
     and about the plaintiff over the course ofhis disciplinary hearing procedures,including
     but not limited to representations regarding the terms and scope ofDartmouth's rules and
     policies, and individual events or circumstances from the plaintiffs specific case.
244.Dartmouth knew these representations of material facts were false or was reckless as to
     whether or not they were true.

245.Dartmouth intended plaintiffto act in reliance on, and in accordance with these false
     representations(regarding both Dartmouth's own policies, and the facts and
     circumstances regarding Doe's disciplinary hearings) and all decisions and rulings made
     over the course ofhis disciplinary proceedings which were derived from or based upon
    these false pretenses.

246.Even when Doe did try to dispel or defy these false representations offact and derivative
    rulings, Dartmouth's employees acted so that he effectively had no other choice but to
    accept or "go along with" their false misrepresentations and that they would be treated as
    facts by the Dartmouth personnel managing his disciplinary case.
247.John Doe acted in reliance on Dartmouth's false representations about, inter alia, the
    rules and regulations ofits own disciplinary hearing process, how they would,and had

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       been applied in his own disciplinaiy hearings, as he attempted to navigate, participate in,
      and prepare for his own COS hearings.
  248.As a consequence ofJohn Doe's reliance on falsehoods Dartmouth represented        as


      material facts regarding how his COS hearings would and had been performed. Doe         was


      unable to appropriately navigate, plan and participate in his hearings, have his case and
      decisions made over its duration fairly reviewed,and suffered other consequences,
      effects, and damages described herein.

                               XII. Fraudulent Conccalmfint

 249.Plamtiffrepeats and realleges the allegations above as iffully set forth herein.
 250.Dartmouth rules, policies, and verbal statements yielded by its employees and
     representatives, inter alia, stipulate that Dartmouth has an obligation to provide students
     with infonnation regarding the rules and regulations ofits disciplinary procedures, as
     well as their own individual cases, and to provide reasonable, accurate responses to
     informational inquiries on these topics.
251.Dartmouth's employees and representatives intentionally concealed and/or selectively
     withheld material information about its own rules and regulations, as well as the facts and
    circumstances pertaining to John Doe's disciplinary hearings in response to his
    reasonable inquiries on these topics.
252.Dartmouth knew these representations ofmaterial facts were false or was reckless as to
    whether or not they were true.

253.Dartmouth knew or should have known that it had a duty and obligation to provide Doe
    information regarding the rules and regulations ofDartmouth'sjudicial hearing process


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    and his own specific cases which it knowingly, consciously decided to withhold from
    John Doe in spite of his requests Dartmouth provide it to him.

254.On at least one occasion over the course ofthe events described herein, Katharine Strong

    repeatedly promised Doe that she would provide him information regarding his
    disciplinary hearing which occurred on September 21st,2017,that he had a right to ask
    for the information he desired, and that her office had a duty to provide Doe the

    information, only to inexplicably refuse to provide Doe this information after weeks of
    promising she would give it to him.

255.Plaintiff John Doe justifiably relied on information Dartmouth's employees provided
    him, and has, and continues to suffer incredibly as a consequence ofDartmouth's
    successful and attempted efforts to withhold and/or selectively acknowledge facts and
    information on aforementioned topics.



                                     Praver for Relief



 1. WHEREFORE,Plaintiff respectfully requests that this Court enterjudgment against
     defendant on all counts ofthis complaint. Plaintifffurther prays this court will:

 2. Order the defendant to revert to the decision it reached (in accordance with the

     institution's policies) about April 4'^, 2017 to not impose a sanction upon or raise
     disciplinary allegations against him based on its investigation ofthe March report, and
     overturn all subsequent decisions Dartmouth made to sanction Doe based on these same
     materials, and in violation of Dartmouth's policies;

 3. Order defendant to refrain from attempting to take further disciplinary actions against the
     plaintiff based on the materials in the March report, and revert to the original decision it

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   reached in April 2017(in accordance with Dartmouth's policies and procedures) not to

   raise formal disciplinary allegations against John Doe based on the contents ofthe March

   report;

4. Order defendant to reverse its finding that plaintiff violated its policies, and expunge his

   record;

5. Order defendant to reinstate plaintiff as a student in good standing;

6. Award plaintiff damages and enhanced compensatory damages in an amount to be

    determined at trial, including but not limited to economic damages, damages to physical

    well-being, emotional damages, damages to reputation, loss of career prospects as well as

    prejudgment interests and;

7. Grant such other and further relief as this Court deems equitable and just.



                         PLAINTIFF DEMANDS A TRIAL BY JURY




    Date;        7/28/18                     Signature:          ]dL
                                             Name:                  John Doe

                                            Email Address:         id2018265@,gmail.com




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